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                          UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF FLORIDA
                                ORLANDO DIVISION

  DAVID COLLIER,

         Plaintiff,

  v.                                                    Case No: 6:19-cv-82-Orl-28TBS

  COMBE INCORPORATED, COMBE
  PRODUCTS, INC., COMBE
  LABORATORIES, INC., COMBE
  INTERNATIONAL LLC, WALMART, INC.
  and WAL-MART STORES EAST, LP,

         Defendants.


                                          ORDER

         Defendants Combe Incorporated, Combe Products, Inc., Combe Laboratories LLC

  and Combe International LLC’s Motion for Extension of Time to Respond to Complaint

  (Doc. 19) is DENIED. First, the Court does not know when or if these Defendants have

  been served. Second, these Defendants have not shown good cause why any extension,

  let alone a 60 day extension is warranted. Third, the motion does not comply with Local

  Rules 3.01(a) or (g).

         DONE and ORDERED in Orlando, Florida on February 21, 2019.




  Copies furnished to:

         Counsel of Record
         Unrepresented Parties
